     Case 3:20-cr-00249-RS       Document 642-2     Filed 05/21/25   Page 1 of 2




 1 MICHAEL J. SHEPARD (SBN 91281)
    mshepard@kslaw.com
 2 KING & SPALDING LLP
   50 California Street, Suite 3300
 3 San Francisco, California 94111

 4 Telephone:     +1 415 318 1221

 5 KERRIE C. DENT (admitted pro hac vice)
    kdent@kslaw.com
 6 KING & SPALDING LLP
   1700 Pennsylvania Avenue, NW, Suite 900
 7
   Washington, DC 20006-4707
 8 Telephone:   +1 202 626 2394

 9 CINDY A. DIAMOND (SBN 124995)
    cindy@cadiamond.com
10 ATTORNEY AT LAW

11 58 West Portal Ave #350
   San Francisco, CA 94127
12 Telephone:    +1 408 981 6307

13 Attorneys for Defendant
   ROWLAND MARCUS ANDRADE
14

15

16                            IN THE UNITED STATES DISTRICT COURT

17                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
     UNITED STATES OF AMERICA,                    Case No. 3:20-CR-00249-RS
19
                 Plaintiff,                       [PROPOSED] ORDER GRANTING
20                                                DEFENDANT ANDRADE’S
           v.                                     ADMINISTRATIVE MOTION TO
21                                                EXCEED PAGE LIMIT FOR MOTION
                                                  FOR NEW TRIAL AND JUDGMENT OF
22 ROWLAND MARCUS ANDRADE,                        ACQUITTAL, AND FOR STIPULATED
                 Defendant.                       REVISED BRIEFING SCHEDULE AND
23                                                HEARING DATE
24

25                                                Judge: Hon. Richard Seeborg

26

27
                                              -1-
28    [PROPOSED] ORDER GRANTING DEFENDANT ANDRADE’S                  CASE NO. 3:20-CR-00249-RS
      ADMINISTRATIVE MOTION TO EXCEED PAGE LIMIT AND
      APPROVING STIPULATED REVISED BRIEFING SCHEDULE
     Case 3:20-cr-00249-RS      Document 642-2          Filed 05/21/25   Page 2 of 2




 1          On motion of the defendant and good cause appearing therefore,
 2          IT IS HEREBY ORDERED
 3          That Defendant Andrade may file a Post-Trial Brief in excess of the 25-page
 4 limit, but not to exceed 45 pages; and

 5          That the new briefing schedule and hearing date for Defendant’s Motion for New
 6 Trial and for Judgment of Acquittal is as follows:

 7                Defendant’s Brief Due on May 23, 2025
 8                Government’s Opposition Due on June 11, 2025

 9                Reply Brief due on June 18, 2025

10                Hearing on June 24, 2025, at 9:30 am

11

12         SO ORDERED.
13

14 Dated: May __, 2025
                                                         _____________________________
15
                                                         HON. RICHARD SEEBORG
16                                                       United States Chief District Judge

17

18

19

20

21

22

23

24

25

26

27

28
      [PROPOSED] ORDER GRANTING DEFENDANT ANDRADE’S                      CASE NO. 3:20-CR-00249-RS
      ADMINISTRATIVE MOTION TO EXCEED PAGE LIMIT AND
      APPROVING STIPULATED REVISED BRIEFING SCHEDULE
